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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                              )    Chapter 7
    In re:                                                    )
                                                              )    Case No. 23-10576 (TMH)
    CHRISTMAS TREE SHOPS, LLC, et al.,1                       )
                                                              )    Jointly Administered
                                                              )
                                     Debtors                  )    Re: D.I. 556
                                                              )

     ORDER GRANTING CHAPTER 7 TRUSTEE’S MOTION TO SHORTEN NOTICE
    AND SCHEDULE EXPEDITED HEARING ON CHAPTER 7 TRUSTEE’S OMNIBUS
     MOTION FOR ENTRY OF AN ORDER (I) AUTHORIZING THE REJECTION OF
      CERTAIN UNEXPIRED LEASES OF NONRESIDENTIAL REAL PROPERTY;
                   AND (II) GRANTING RELATED RELIEF

                   Upon consideration of the motion (the “Motion to Shorten”)2 for an order pursuant

to Del. Bankr. L.R. 9006-1(e) scheduling an expedited hearing and shortening notice with respect

to the Chapter 7 Trustee’s Omnibus Motion for Entry of an Order (I) Authorizing the Rejection of

Certain Unexpired Leases of Nonresidential Real Property; and (II) Granting Related Relief (the

“Omnibus Rejection Motion”), filed by George L. Miller, chapter 7 trustee (the “Trustee”) of the

above-captioned debtors and debtors in possession (collectively, the “Debtors”); and the Court

having considered the Motion to Shorten; and the Court having jurisdiction over this matter

pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference from the

United States District Court for the District of Delaware, dated February 29, 2012, and that this

Court may enter a final order consistent with Article III of the United States Constitution; and

venue being proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409; and notice of the


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      The Debtors in these chapter 7 cases and the last four digits of each Debtor’s U.S. tax identification number are
      as follows: Christmas Tree Shops, LLC (1207), Handil, LLC (1150), Handil Holdings, LLC (2891), Salkovitz
      Family Trust 2, LLC (8773), and Nantucket Distributing Co., LLC (1640).

2
      Capitalized terms not defined herein shall have the meaning attributed to them in the Motion to Shorten or the
      KERP Motion, as applicable.



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Motion to Shorten being adequate and sufficient; and after due deliberation and sufficient cause

appearing therefor, IT IS HEREBY ORDERED THAT:

                 1.          The Motion to Shorten is GRANTED.

                 2.          A hearing to consider the Omnibus Rejection Motion shall be held on

August 31, 2023 at 11:00 a.m. (prevailing Eastern Time) (the “Hearing”).

                 3.          Objections or responses to the Omnibus Rejection Motion, if any, may be

presented at the Hearing.

                 4.          The Trustee shall immediately serve a copy of this Order and a notice for

the Hearing on the Omnibus Rejection Motion in the manner described in the Motion to Shorten

                 5.          This Court shall retain jurisdiction to enforce and interpret the provisions of

this Order.


               Dated: August 24, 2023                   _________________________________
               Wilmington, Delaware                     Thomas M. Horan
                                                        United States Bankruptcy Judge




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